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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 CHRISTINE CAPORALETTI                                :
                                                      :
                     PLAINTIFF,                       :
                                                      : Civil Action No.
 vs.                                                  : 2:21-CV-03293-JHS
                                                      :
 BOROUGH OF POTTSTOWN; CHIEF OF                       :
 POLICE MICHAEL MARKOVICH –                           :
 POTTSTOWN POLICE DEPARTMENT;                         : JURY TRIAL DEMANDED
 POLICE OFFICER PETER YAMBRICK –                      :
 POTTSTOWN POLICE DEPARTMENT;                         :
 POLICE OFFICER MATTHEW                               :
 MACIEJEWSKI – POTTSTOWN POLICE                       :
 DEPARTMENT; POLICE OFFICER JOHN                      :
 DOES 1-99 – POTTSTOWN POLICE                         :
 DEPARTMENT; POTTSTOWN                                :
 HOSPITAL; TOWER HEALTH; ABC                          :
 SECURITY COMPANY; DYLAN                              :
 HECKART AND JANE DOE EMPLOYEE -                      :
 POTTSTOWN HOSPITAL                                   :
                                                      :
                     DEFENDANTS.                      :

  BRIEF IN SUPPORT OF DEFENDANTS’, POTTSTOWN HOSPITAL AND TOWER
         HEALTH, MOTION TO DISMISS PURSUANT TO F.R.C.P. 12(b)(6)

   I.      INTRODUCTION

        Plaintiff, Christine Caporaletti (“Plaintiff” or “Ms. Caporaletti”), alleges that she was

improperly denied the opportunity to see, or otherwise be informed of the whereabouts and well-

being of non-party, Michael Graeff (“Mr. Graeff”), during his July 25, 2019 admission to

Pottstown Hospital. Plaintiff has no familial nor legal relationship to Mr. Graeff. Police were

called to the Hospital after Plaintiff refused multiple requests to leave. Officers of the Pottstown

Police Department subsequently escorted Plaintiff out of the Hospital and placed her under arrest.

During the arrest, Plaintiff alleges that she sustained injury to her right arm and shoulder.




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          With respect to Defendants, Pottstown Hospital 1 and Tower Health (together “Moving

Defendants”), Plaintiff asserts two (2) counts: Count XI (Negligence) and Count XII (Negligence

- Vicarious Liability). The sum total of the allegations concerning Moving Defendants and their

purported employees and/or agents consist of: (1) informing Plaintiff that Mr. Graeff had not yet

arrived at the hospital and, later, that he did not wish to speak to Plaintiff; and (2) calling the police

when Plaintiff became agitated and refused to leave the Hospital. Moving Defendants’ alleged

employees and/or agents never physically touched Plaintiff and were not involved in her

subsequent arrest, the point at which Plaintiff purportedly sustained injury. Because Plaintiff has

failed to plead the requisite elements of Negligence – specifically, failing to plead a legally

cognizable breach of a duty, and failing to plead a causal connection between the acts and/or

omissions of Moving Defendants’ alleged employees and/or agents and the injuries purportedly

sustained by Plaintiff - Plaintiff’s claims against Moving Defendants fail as a matter of law.

Alternatively, if any of Plaintiff’s claims as to Moving Defendants are deemed legally sufficient,

then Plaintiff’s claim for punitive damages should be dismissed for failure to plead grounds upon

which this requested relief may be granted.

    II.      STATEMENT OF FACTS

          Plaintiff alleges that an unnamed employee of Moving Defendants, Co-Defendant Jane

Doe, was working at the front desk of Pottstown Hospital when Plaintiff approached her to ask for

information concerning Mr. Graeff. (Doc. 1, ¶ 30.) Significantly, Plaintiff omits from her

Complaint the precise nature of the relationship, if any, between her and Mr. Graeff. (see

generally, Doc. 1.) Rather, Plaintiff alleges only that she considered Mr. Graeff to be “like a son”

to her. (Doc. 1 at ¶ 23.) (emphasis supplied.) Ms. Doe informed Plaintiff that Mr. Graeff had not


1
 Improperly identified by Plaintiff. The proper name for this entity is “Pottstown Hospital, LLC d/b/a Pottstown
Hospital.”

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yet checked into the Hospital. 2 (Id. at ¶ 31).               Despite this, Plaintiff continued to request

information pertaining to Mr. Graeff’s well-being and whereabouts. (Id. at ¶¶ 32-33).

           Jane Doe then called to the front desk Co-Defendant Security Guard, Dylan Heckart. (Id.

at ¶¶ 31-33.) Mr. Heckart is alleged to be an employee and/or agent of Moving Defendants and/or

Co-Defendant, ABC Security Company. 3 (Id. at ¶ 17.) After informing Plaintiff that Mr. Graeff

did not wish to see her, Mr. Heckart purportedly demanded that Plaintiff leave the Hospital. (Id.

at ¶ 34.) He subsequently allegedly accused Plaintiff of misconduct as a result of her banging on

doors in the back of the emergency room and pushing through doctors. (Id. at ¶ 40.) Plaintiff

maintains that Mr. Heckart had no basis in fact for informing her that Mr. Graeff did not wish to

speak to her. (Id. at ¶ 38.) Plaintiff also denies engaging in misconduct. (Id. at ¶¶ 40-41.)

           At some point during her communications with Jane Doe and Mr. Heckart, they or “an

unknown employee” of the Hospital is alleged to have called the police. (Id. at ¶ 44.) Significantly,

from this point forward, no purported employee and/or agent of the Hospital is alleged to have had

any further interactions with Plaintiff. (See generally, Id. at ¶¶ 45-72.)

           Three (3) officers of the Pottstown Police Department, Co-Defendants Officer Yambrick,

Officer Maciejewski and Officer John Doe, subsequently arrived at the Hospital, confirmed for

Plaintiff that Mr. Graeff did not wish to see her, and directed Plaintiff to leave the Hospital. (Id.

at ¶¶ 47, 52.) Following Plaintiff’s continued insistence that she be able to speak to Mr. Graeff,

she eventually left Pottstown Hospital. (Id. at ¶¶ 54-55.) Plaintiff was allegedly followed outside

the Hospital by Officers Yambrick, Maciejewski and John Doe who then placed her under arrest.



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 The accuracy of Ms. Doe’s representation is confirmed by Plaintiff’s allegations. (See Doc. 1, ¶¶ 30-37) (“Plaintiff
saw the ambulance containing Mr. Graeff arrive at the Pottstown Hospital Emergency Department via the hospital’s
video monitors”, Doc. 1, ¶ 37, only after being informed by Ms. Doe that he had not yet checked in and only after a
subsequent exchange between Co-Defendant, Dylan Heckart, and Plaintiff).
3
    Moving Defendants deny that either employed Mr. Heckart at any relevant time.

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(Id. at ¶¶ 56-57.) During her arrest, Plaintiff alleges that she was subjected to excessive force and

sustained injury to her right arm and shoulder. (Id. at ¶¶ 59-61, 76.)

    III.      STATEMENT OF QUESTIONS INVOLVED

    A. Whether Plaintiff’s claims against Moving Defendants - Count XI (alleging Negligence)

           and Count XII (alleging Negligence – Vicarious Liability) - should be dismissed where

           Plaintiff has failed to plead the requisite elements of Negligence?

           Suggested Answer: Yes.

    B. In the alternative, whether Plaintiff’s claim for punitive damages against Moving

           Defendants must fail where Plaintiff has failed to plead any “willful, wanton or reckless

           conduct” misconduct on the part of Moving Defendants or their alleged employees and/or

           agents?

           Suggested Answer: Yes.

    IV.       LEGAL STANDARD

           A motion to dismiss pursuant to Rule 12(b)(6) tests the legal sufficiency of a complaint to

determine whether a plaintiff has properly stated a claim. See Fed. R. Civ. P. 12(b)(6). To

determine the sufficiency of a complaint, the court must view the stated facts in favor of the

plaintiff, disregard any legal conclusions, and not credit any formulaic recitations of the elements.

See Santiago v. Warminster Twp., 629 F.3d 121, 130 (3d Cir. 2010) (quoting Iqbal v. Ashcroft,

556 U.S. 662, 675, 679 (2009)).

           Thus, to survive a motion to dismiss, a “complaint must contain sufficient factual matter,

accepted as true, ‘to state a claim for the requested relief that is plausible on its face.’” Iqbal, 556

U.S. at 678. Facial plausibility exists “when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.



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This determination is a “context specific task that requires the reviewing court to draw on its

judicial experience and common sense.” Id. at 679.

    V.        ARGUMENT

         A. Plaintiff’s Claims Against Moving Defendants - Counts XI (alleging Negligence)
            and XII (alleging Negligence – Vicarious Liability) of Plaintiff’s Complaint -
            Should be Dismissed, with Prejudice, for Legally Insufficiency Where Plaintiff
            Fails to Plead Either a Breach of Duty or a Causal Connection Between Moving
            Defendants’ Purported Employees and/or Agents’ Alleged Actions and Plaintiff’s
            Alleged Injury.

         Though not clear from her Complaint, Plaintiff seems to maintain that Moving Defendants’

alleged employees and/or agents, Jane Doe and Security Guard Dylan Heckart, had a duty to

provide her with accurate information concerning the whereabouts of Michael Graeff, an

individual whose relationship to Plaintiff is wholly unclear. 4 Contrary to Plaintiff’s allegation,

and as is more fully detailed herein, Ms. Doe and Mr. Heckart fulfilled their duty. Simply put,

Plaintiff simply did not care for the answers she was provided. Additionally, Plaintiff fails to plead

the existence of an injury causally connected to the alleged acts and/or omissions of Moving

Defendants’ purported employees and/or agents. Accordingly, Plaintiff’s claims as to Moving

Defendants fail as a matter of law.

         “In Pennsylvania, a negligence cause of action is comprised of the following elements: (1)

a duty or obligation recognized by the law requiring the defendant to conform to a certain standard

of conduct for the protection of others against unreasonable risks; (2) defendant’s failure to

conform to the standard required; (3) a causal connection between the conduct and resulting injury;

and (4) actual loss or damage resulting to the plaintiff. Gillen v. Boeing Co., 40 F. supp. 3d 534,


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  Moving Defendants specifically disclaim the existence of any further duty(ies) that may be alleged, explicitly or
implicitly, as Plaintiff fails to plead the existence of any familial or legal relationship between her and Mr. Graeff.
(See Doc. 1, ¶ 27 (alleging only that “Plaintiff considered him to be ‘like a son.’”)). In short, Plaintiff was not entitled
to the extent or degree of information concerning Mr. Graeff that an immediate family member, legal guardian, or
person otherwise authorized by Mr. Graeff may be.

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537 (E.D. Pa. 2014) (citing R.W. v. Manzek, 888 A.2d 740, 746 (Pa. 2005)). Plaintiff fails to

establish the second and third elements.

        First, Moving Defendants did not breach any duty allegedly owed to Plaintiff. The sum

total of the allegations against Jane Doe and Dylan Heckart consist of: (1) Ms. Doe informing

Plaintiff that Mr. Graeff had not yet check in to the Hospital; (2) Mr. Heckart informing Plaintiff

that Mr. Graeff did not wish to see her; (3) Mr. Heckart purportedly wrongfully accusing Plaintiff

of misconduct; and (4) Ms. Doe and Mr. Heckart or “an unknown employee” of the Hospital

calling the police on Plaintiff. (Doc. 1 at ¶¶ 30-44.) Ms. Doe’s representation concerning Mr.

Graeff not yet having checked into the hospital is not alleged to be inaccurate. With respect to

Plaintiff’s allegation that Mr. Heckart lied to her in communicating that Mr. Graeff did not wish

to see her, Plaintiff fails to establish that Mr. Heckart violated any duty. In short, Plaintiff fails to

allege that she informed anyone at the Hospital of the nature of her relationship, if any, with Mr.

Graeff. She was appropriately, from the Hospital’s standpoint, a stranger to Mr. Graeff. Plaintiff’s

contention that she had a “right to be informed of Mr. Graeff’s whereabouts and status” (Doc. 1 at

¶ 35) is a wholly unsupported legal conclusion.           With respect to Mr. Heckart purportedly

wrongfully accusing Plaintiff of misconduct, Mr. Heckart (and/or Jane Doe or another unnamed

Hospital employee) is alleged to have simply called the police. He did not attempt to detain

Plaintiff or, alternatively, physically remove her from the Hospital. Moreover, the additional

allegations of the Complaint strongly suggest that Mr. Heckart’s allegation of misconduct was

accurate. Plaintiff was ultimately escorted out of the Hospital by members of the Pottstown Police

Department and placed under arrest for Disorderly Conduct. (Doc. 1 at ¶¶ 56-57, 66.) In sum,

plaintiff’s allegations fail to establish a breach of any limited duty owed by the Hospital to Plaintiff.




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       Second, Plaintiff fails to plead an injury causally connected to the alleged actions and/or

omissions of Moving Defendants’ purported employees and/or agents. “[A]n admittedly negligent

act does not necessarily entail liability; rather even when it is established that the defendant

breached some duty of care owed the plaintiff, it is incumbent on a plaintiff to establish a causal

connection between defendant’s conduct and the plaintiff’s injury.” Turturro v. United States,

629 Fed. Appx. 313, 324 (3rd Cir. 2015) (quoting Hamil v. Bashline, 392 A.2d 1280, 1284 (Pa.

1978)) (emphasis supplied). “In Pennsylvania, establishing such a causal connection requires

demonstrating both but-for causation and proximate cause.” Id. (citing Reott v. Asia Trend, Inc.,

55 A.3d 1088, 1103 (Pa. 2012)). Here, Plaintiff has not pled, and cannot establish, proximate

cause. To establish proximate causation:

       …a plaintiff must show that the defendant’s breach was a substantial factor in
       bringing about the plaintiff’s harm. See Powell v. Drumheller, 653 A.2d 619, 622
       (Pa. 1995). The plaintiff may rest on circumstantial evidence of such proximate
       causation. See Harvilla v. Delcamp, 555 A.2d 763, 764 (Pa. 1989) (opinion
       announcing the judgment of the court; Hamil, 392 A.2d at 1288, n. 9 (“A mere
       possibility of… causation is not enough; and when the matter remains one of pure
       speculation and conjecture, or the probabilities are at best evenly balanced, it
       becomes the duty of the court to direct a verdict for the defendant.” (quoting
       Restatement (Second) of Torts § 433B cmt. a (1965)) (internal quotation marks
       omitted)).

Turturro, 629 Fed. Appx. at 325.

       Here, Plaintiff alleges that she was injured during her arrest by officers of the Pottstown

Police Department as a result of their purportedly using excessive force. It is undisputed that

neither Jane Doe, Dylan Heckart nor any other alleged employee and/or agent of Moving

Defendants was not involved in Plaintiff’s apprehension and/or arrest. Rather, the only action that

they took is calling the police. It is sheer “speculation and conjecture” that by calling the police

they knew or should have known that Plaintiff would subsequently and allegedly be injured by

police through the alleged use of unprovoked excessive force. Accordingly, as a matter of law,

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Plaintiff has failed to establish the requisite causal connection between her injury and Moving

Defendants’ purported employees and/or agents’ alleged acts and/or omissions. Therefore, Counts

XI and XII of Plaintiff’s Complaint should be dismissed, with prejudice, as to Moving Defendants.

        B. Alternatively, Plaintiff’s Claim for Punitive Damages Should be Dismissed as
           Legally Insufficient.

        If the Court should decline to dismiss Plaintiff’s claims as to Moving Defendants in their

entirety, then Plaintiff’s claim for punitive damages should be dismissed, with prejudice. Simply

put, Plaintiff has failed to allege that Moving Defendants and/or their alleged employees and/or

agents acted with the necessary intent required to justify an award of punitive damages.

        Under Pennsylvania law, “punitive damages are proper ‘only in cases where the

defendant’s actions are so outrageous as to demonstrate willful, wanton or reckless conduct.’ They

are an ‘extreme remedy’ available only in the most exceptional circumstances.” Brown v. City of

Phila., 2021 U.S. Dist. LEXIS 130851, *14 (E.D. Pa. July 14, 2021) (quoting Hutchinson v. Luddy,

870 A.2d 766, 770 (Pa. 2005) and Phillips v. Cricket Lighters, 883 A.2d 439, 445 (Pa. 2005)).

Here, read in a light most favorable to Plaintiff, Moving Defendants provided Plaintiff, an

individual with no familial or legal relationship to Mr. Graeff, inaccurate information concerning

Mr. Graeff’s whereabouts and subsequently called the police when Plaintiff refused to voluntarily

leave the Hospital. Moving Defendants’ alleged agents and/or employees did not physically touch

Plaintiff or directly (nor, Moving Defendants submit, indirectly) cause Plaintiff’s alleged injuries.

These actions do not demonstrate the requisite “willful, wanton or reckless conduct” that could

warrant the imposition of punitive damages. Accordingly, Plaintiff’s claim for said damages must

fail as a matter of law.




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   VI.      CONCLUSION

         For the foregoing reasons, Moving Defendants respectfully request that their Motion to

Dismiss be granted pursuant to Federal Rule of Civil Procedure 12(b)(6) and that an Order be

entered in the form attached.

                                            Respectfully submitted,

                                            SAXTON & STUMP, LLC



Date: September 24, 2021                    __________________________________
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